 In Re the Marriage of J. Cruz Moran Vazquez, Petitioner  and  Celedonia Rodriguez De Moran, Respondent No. 22SC32Supreme Court of Colorado, En BancMay 23, 2022
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 21CA1281
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
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